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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

Adv. No. 16-51014 (MFW)

TSA STORES, INC.; BANK OF AMERICA,
N.A.; WELLS FARGO BANK, NATIONAL
ASSOCIATION; WILMINGTON SAVINGS
FUND SOCIETY, FSB; YUSEN LOGISTICS
(AMERICAS) INC.; and OOCL (USA), INC.

Related Docket Nos.: 52, 53, 76, 97
& 99

I : )
” re ) ease No. 16-10527 (MFW)

TSAWD HOLDINGS, INC., et tll.,1 ) (Jointly Administered) §
) §
Debtors. ) Chapter 11 l

)

ozcooL, LLC, a l)elaware limited liability )

company, §

Plaintiff, §

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V.

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Defendants.
ORDER APPROVING THE SIXTH STIPULATION FOR
EXTENSION OF OOCL’S DEADLINE TO FILE REPLY IN SUPPORT OF ITS
MOTION FOR JUDGMENT ON THE PLEADINGS

Upon consideration of the Stipulation between the parties extending the deadline for OOCL
(USA), Inc. to file its Reply brief in support of its Motion for Judgment on the Pleadings, and after
due deliberation and sufficient cause appearing therefore;

IT IS HEREBY ORDERED THAT:

l. The Sixth Stipulation for Extension of OOCL’s Deadline to File Reply in Support of

its Motion for Judgrnent on the Pleadings is hereby APPROVED;

 

l The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); TSAWD, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift
Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA Caribe, Inc. (5664) (collectively, the “Debtors”).

The Debtors were formerly known as: Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); The
Sports Authority, Inc. (28()2); TSA Stores, Inc. (1120); TSA Gii°c Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA
Caribe, Inc. (5664).

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2. OOCL (USA), LLC Shall have up to and including Novernber 13, 2017 to file and
serve the Reply in support of its Motion for Judgment on the Pleadings.
3. This Court shall retain jurisdiction to resolve any disputes or controversies arising

from or related to this Stipulation and Order.

Dated: \Q`\\Q` \f§ mm

The Honorabl'e) Mary F. Walrath
United States Bankruptcy Judge

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